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5    Attorneys for Plaintiff
     United States of America
6
                                    IN THE UNITED STATES DISTRICT COURT
7
                                        EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                               CASE NO. 1:17-CR-00071 LJO
9
                                   Plaintiff,                STIPULATION TO VACATE HEARING ON
10                                                           MOTION FOR DISCOVERY AND ORDER
                             v.
11
     BRYAN KEITH WASHINGTON, AND
12   KWESI JAMAR COKER,

13                                 Defendants.

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15            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

16   Kimberly A. Sanchez, Assistant U.S. Attorney and Eric Kersten and John Meyer, attorneys for the

17   defendants, that the motion hearing set for December 18, 2017 before the Honorable Sheila K. Oberto be

18   vacated. The reason for the request is that the parties agree that no disputed discovery issues remain for the

19   Court to decide, and a trial date is in place for June 12, 2018.

20   .

21

22            Dated: December 15, 2017                                  Respectfully submitted,

23                                                                      PHILLIP A. TALBERT
                                                                        United States Attorney
24

25
                                                              By        /s/ Kimberly A. Sanchez
26                                                                      KIMBERLY A. SANCHEZ
                                                                        Assistant U.S. Attorney
27

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         Stipulation                                         1
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1             Dated: December 15, 2017                 /s/ Eric Kersten
                                                       ERIC KERSTEN
2                                                      Attorney for Bryan Keith Washington
3             Dated: December 15, 2017                 /s/ John Meyer
                                                       JOHN MEYER
4
                                                       Attorney for KWESI JAMAR COKER
5

6
                                                ORDER
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8    IT IS SO ORDERED.
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10
     Dated:     December 15, 2017                      /s/   Sheila K. Oberto          .
                                               UNITED STATES MAGISTRATE JUDGE
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      Stipulation                               2
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